The defendant was convicted of violating a New Haven city ordinance which makes violation of the Basic Building Code of the state of Connecticut punishable by a fine of $100. The particular code provision which the defendant was charged with violating was one requiring an owner, agent or person in charge of an unsafe building to demolish it within the time stipulated in a notice from the building official.
Before the commencement of the trial the defendant raised the defense of double jeopardy. His claim was that in July, 1973, he received a notice from the building department to demolish his building because it was unsafe, that he was later arrested and charged with failure to demolish that building, and that on July 18, 1973, he was acquitted of that charge. He claimed further that the present charge was for the same offense because the state did not cite any change in the condition of the building since the defendant's earlier acquittal. In response, the *Page 743 
prosecutor did not claim that the July demolition order was defective in any respect. He stated, rather, that he was relying upon a city ordinance that makes each day's violation a separate offense and then remarked "your Honor, that's the entire basis for the arrest for which Mr. Biller is in court today; namely, that it is a different offense than the offense [for] which he was arrested earlier because they are different days. We are not alleging it is a different building. We are not alleging that it is a different condition. We are alleging that it arose from a different violation. We are alleging failure to demolish an unsafe structure, 665 Washington Avenue, as of November 19." Treating the defendant's defense as a motion to dismiss, the court denied it.
During the trial, Walter Krawl, assistant building inspector for the city of New Haven, testified that he inspected the defendant's building on October 3, 1973, and he subsequently gave his opinion that, on the date he inspected it, the condition of the building was unsafe. On cross-examination the defendant inquired whether the building inspector had caused a complaint to be filed with the prosecutor on prior occasions. Upon objection the defendant claimed that he was "trying to build my situation of double jeopardy, your Honor, and this witness has this." The trial court not only sustained the objection but admonished the defendant that double jeopardy was not an issue in the case.
Later, when the defendant took the witness stand in his own behalf and asked whether he could testify about prior occasions, the court responded that he could not testify concerning any period other than that from October 3, 1973, to December 23, 1973. The defendant thereupon raised the issue of estoppel and asked whether he was precluded from claiming that "this arrest is the exact same arrest *Page 744 
for the exact same condition." The court then replied "I have already ruled that three times, at least three times. You have raised the question of double jeopardy once before today. I have ruled out any questions on that. I am now ruling out any testimony on your part with reference to prior trials. The court has taken judicial notice that the dates and times alleged and prior prosecutions do not pertain to the dates and times alleged in this prosecution. Therefore, there is no double jeopardy."
Although the defendant has not assigned as error the court's disposition of his defense of double jeopardy, the issue is of such great importance, involving as it does a right guaranteed by the constitution of the United States; Benton v. Maryland, 395 U.S. 784, 794; and one not easily waived; Menna v. New York, 423 U.S. 61, 62; that we should address ourselves to it on our own motion. Practice Book 762.
The prohibition against double jeopardy, both at common law and under the federal constitution, was designed to protect an individual from being subjected to the hazards of trial and possible conviction more than once for the same offense. "The underlying idea, one that is deeply ingrained in at least the Anglo-American system of jurisprudence, is that the State with all its resources and power should not be allowed to make repeated attempts to convict an individual for an alleged offense, thereby subjecting him to embarrassment, expense and ordeal and compelling him to live in a continuing state of anxiety and insecurity, as well as enhancing the possibility that even though innocent he may be found guilty." Green v. United States, 355 U.S. 184, 187; State v. vincent, 25 Conn. Sup. 96, 102.
The offense charged here involved three elements: (1) an unsafe building within the meaning of 124.1 *Page 745 
of the code, (2) an order to the defendant as the owner or person in charge of that building to demolish it, and (3) a failure by the defendant to comply with the order. The prosecutor conceded that the only difference between the two prosecutions was the different day of each offense. That concession for the purpose of the case at bar constituted a judicial admission; Casale v. Casale,138 Conn. 490, 493; Kanopka v. Kanopka, 113 Conn. 30,38-39; and dispensed with the necessity of producing evidence to establish it. Thus the narrow issue presented by this case is whether in the case of so-called continuing offenses all that the prosecutor has to do is to await the dawn of a new day.
I do not believe that it would be seriously questioned that the defendant could not be tried for a violation on July 19 on the basis of an inspection of the premises on July 18, the date of the earlier charge, even with the additional testimony that the building had not been demolished on July 19. The reason that this is so is because there cannot be a continuing violation unless there is a violation in the first place. The critical question is whether the defendant's building is unsafe. Once that issue has been determined in the defendant's favor a new prosecution is barred unless the state can show a change in the structure since the earlier prosecution. If a new prosecution could be pursued as though the earlier acquittal were irrelevant, then it would make no difference how many times the owner of a building had been acquitted; he could still be subjected to endless prosecutions until a conviction was secured, the very prospect that the double jeopardy defense was designed to avoid. Both at common law and under the federal constitution double jeopardy was erected as an effective bulwark against sunrise prosecutions. I cannot believe that its effectiveness is lost in cases involving so-called continuing violations. *Page 746 
Although there are cases which seem to support the present prosecution, those cases are distinguishable. In Savage v. District of Columbia, 54 A.2d 562 (D.C.App.), a second prosecution was permitted, after a prior acquittal, for operating a rooming house without a license. In that case, however, the defendant admitted that he never had an occupancy permit and the court was not advised of the ground of the first acquittal. Also, in People v. Johansen,66 Cal.App. 343, it was held that prior acquittal or conviction for membership in an unlawful organization is no bar to prosecution for the subsequent continuance of the same offense, but on the facts of the case the court suggested that the earlier acquittal might have been based on the lack of guilty knowledge of the character of the organization. The Savage and Johansen cases would have been in point if in the former the validity of a document which the homeowner claimed to be a permit was decided in the owner's favor and if, in the latter, the jury in the earlier trial had found that the organization was not subversive.
Although I am persuaded that the prosecutor's statements to the court constituted a judicial admission, even if that is not the case, the action of the trial court in precluding the defendant from offering evidence to establish his double jeopardy defense denied him a fair trial. Proctor v. Sachner, 143 Conn. 9, 17.
I would reverse and order a new trial and, therefore, respectfully, I dissent. *Page 747 